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Law Offices of Alan Alexander Beck
2692 Harcourt Ave., San Diego, CA 92123 | (619) 905-9105 | alan.alexander.beck@gmail.com


                                         October 21, 2022
Ms. Molly C. Dwyer, Clerk
U.S. Court of Appeals for the Ninth Circuit
95 7th Street
San Francisco, CA 94103

Re: Todd Yukutake et. al., v. Holly T. Shikada et. al., No. 21-16756
Dear Ms. Dwyer:
        I write this Court to inform it of a recently produced law review article. Smith, Mark W.,
“Not all History is Created Equal”: In the Post-Bruen World, the Critical Period for Historical
Analogues is when the Second Amendment was Ratified in 1791, and not 1868 (October 1, 2022)
Available at SSRN: https://papers.ssrn.com/sol3/papers.cfm?abstract_id=4248297 (attached)
argues that the period of ratification of the Second Amendment at 1791 is the time period that a
court should look at in order to see if a modern day practice has a historical analog. Plaintiffs have
made a similar argument in their supplemental briefing. Thus, this paper supports their legal
arguments. See Supplemental Brief at 6, 10,
       Yours very truly,
                                               /s/ Alan Beck
                                               Alan Beck
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                                  CERTIFICATE OF SERVICE
        I served the foregoing by electronically filing it with the Court’s CM/ECF system which
generated a Notice of Filing and effects service upon counsel for all parties in the case. I certify
that this supplement has 111 words as calculated by Microsoft Office 365.
       I declare under penalty of perjury that the foregoing is true and correct.
 Executed this the 21st day of October 2022.


                                      s/ Alan Beck
